        Case 5:04-cv-03101-DWB Document 147 Filed 12/14/06 Page 1 of 4




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 EDDIE JAMES LOWERY and
 AMANDA MARIE LOWERY,
                        Plaintiffs,


                        vs.                              Case No. 04-3101-JTM


 THE COUNTY OF RILEY et al.,
                        Defendants.




                                   MEMORANDUM AND ORDER

       This matter comes before the court on plaintiffs’ motion to certify defendants’

interlocutory appeal as frivolous (Dkt. No. 142). After reviewing the parties’ arguments, the

court denies plaintiffs’ motion.

I. Factual Background:

       Plaintiffs brought the present action alleging violations of 42 U.S.C. § 1983 following

plaintiff, Eddie Lowery’s, conviction and subsequent exoneration. Defendants Steve French,

Alvan Johnson, Douglass Johnson, Harry L. Malugani, Allen Raynor, Riley County Law

Enforcement Department, William "Mike" Watson, and Larry Woodyard filed a motion for

summary judgment with this court, which the court denied on September 15, 2006. On October

12, 2006, the individual defendants filed a notice of appeal of the court’s denial of summary

judgment. Thereafter, on November 2, 2006, the Tenth Circuit issued an order suspending full
         Case 5:04-cv-03101-DWB Document 147 Filed 12/14/06 Page 2 of 4




briefing on defendants’ interlocutory appeal and scheduling briefing in order to determine

whether there is appellate jurisdiction over defendants’ appeal. In response to defendants’

appeal, the plaintiffs filed the present motion to certify the defendants’ interlocutory appeal as

frivolous.

II. Standard of Review and Conclusions of Law:

       Defendants appeal this court’s determination denying qualified immunity in their

individual capacities. Plaintiffs argue that the defendants’ interlocutory appeal of qualified

immunity is without merit because it is premised on defendants’ refusal to accept plaintiffs’

version of the facts as true and the sufficiency of the evidence supporting plaintiffs’ claims.

       The filing of a notice of appeal confers jurisdiction upon the court of appeals and divests

the district court of its control over those aspects of the case involved in the appeal. Molina v.

Christenson, No. 00-2585, 2002 WL 1461976 (D. Kan. 2002) (citing Griggs v. Provident

Consumer Discount Co., 459 U.S. 56, 58 (1982)). The Tenth Circuit has determined a procedure

whereby a district court may maintain jurisdiction over a case if the court certifies that the party’s

appeal is frivolous. Id. (citing United States v. Hines, 689 F.2d 934, 937 (10th Cir. 1982)).

However, an interlocutory appeal from an order refusing to dismiss on qualified immunity

grounds relates to the entire action. Therefore, the district court does not have jurisdiction to

proceed with any part of the action against an appealing defendant. Id. (citing Stewart v. Donges,

915 F.2d 572, 576 (10th Cir. 1990)).

       In order to avoid abuse, the Tenth Circuit, in Stewart, noted “that once a notice of appeal

on an appealable issue such as qualified immunity is filed, the status quo is that the district court

has lost jurisdiction to proceed.” Stewart, 915 F.2d at 577-78. The Circuit further explained that

a district court may regain jurisdiction if it determines that an appeal is frivolous following a
         Case 5:04-cv-03101-DWB Document 147 Filed 12/14/06 Page 3 of 4




hearing and substantial reasoning supporting the frivolous nature of the appeal. Id. (citing

United States v. Hines, 689 F.2d 934, 936-37 (10th Cir. 1982)).

        The court declines to find the defendants’ appeal to be frivolous. As part of their

response to plaintiffs’ motion to certify the appeal as frivolous, the defendants argue that

defendants’ interlocutory appeal did not in total reject plaintiffs’ version of facts. Defendants

note that in their motion for qualified immunity, they stated: “The thrust of the officers’ qualified

immunity is straightforward. Assuming Lowery’s sworn version of the events surrounding his

confession is true, his factual account is insufficient to establish a constitutional violation.”

Defendants’ Motion for Summary Judgment, Dkt. No. 121, pg. 1. Indeed, the court noted the

findings of fact in its order denying summary judgment. Where the fact is controverted, the court

noted that it would view the fact in the light most favorable to plaintiff. As plaintiff states in its

motion to certify the appeal as frivolous: “[A]n appellate court may examine on interlocutory

appeal the purely legal question of whether the facts alleged by plaintiff support a claim of

violation of clearly established law,” but it may not review the district court’s denial of qualified

immunity “insofar as the order determined plaintiff’s claims are supported by sufficient evidence

in the record or disputed issues of material fact exist which preclude summary judgment.”

Robbins v. Wilkie, 433 F.3d 755, 761 (10th Cir. 2006) (citing Mitchell v. Forsyth, 472 U.S. 511,

528 n. 9 (1985); Johnson v. Jones, 515 U.S. 304, 317 (1995); Foote v. Spiegel, 118 F.3d 1416,

1422 (10th Cir. 1997)).

        In the court’s view, the determination of whether there is a purely legal question to review

should be determined by the Tenth Circuit. The court finds no substantial reason demonstrating

that defendants’ appeal is frivolous. For these reasons, the court denies plaintiffs’ motion.
        Case 5:04-cv-03101-DWB Document 147 Filed 12/14/06 Page 4 of 4




IT IS ACCORDINGLY ORDERED this 14th day of December, 2006, that plaintiffs’ motion to

certify defendants’ interlocutory appeal as frivolous (Dkt. No. 142) is denied.

                                                     s/ J. Thomas Marten
                                                     J. THOMAS MARTEN, JUDGE
